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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 16-cv-23732-JEM

  YAYSET VARONA,

         Plaintiff,

  v.

  GODIVA AMERICAN, CORP.,
  d/b/a SANTA FE NEWS AND ESPRESSO
  and ALEJANDRO SCOLNIK, individually,

        Defendants.
  _____________________________________/

                        JOINT MOTION TO APPROVE SETTLEMENT
                            AND TO DISMISS WITH PREJUDICE

         The Parties, Plaintiff, YAYSET VARONA (“Plaintiff”), and Defendants, GODIVA

  AMERICAN, CORP. d/b/a SANTA FE NEWS AND ESPRESSO, and ALEJANDRO SCOLNIK

  (“Defendants”), by and through their respective undersigned counsel, hereby file this Joint Motion

  to Approve Settlement and to Dismiss with Prejudice, and state the following in support thereof:

         1.      Plaintiff filed the instant action alleging that Defendants violated the Fair Labor

  Standards Act, as amended, 29 U.S.C. § 201-216 (“FLSA”).

         2.      Defendants deny Plaintiff’s claims.

         3.      To avoid the costs and the uncertainty of litigation, after extensive negotiations, the

  Parties reached a settlement between them that fully resolved all of Plaintiff’s claims, including

  those for attorney’s fees and costs.

         4.      Pursuant to Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir.

  1982), claims for back wages arising under the FLSA may be settled or compromised only with

  the approval of the Court or the Secretary of Labor. Accordingly, the Parties hereby request that



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  the Court approve the Settlement, Release and Non-Disclosure Agreement entered into by the

  parties, a copy of which is attached to this Motion as Exhibit A for the Court’s consideration.

         5.      In settlement, Plaintiff will be paid a total of $3,000.00. The parties agree that upon

  careful review of Plaintiff’s time records, hours and weeks in which overtime was worked, and

  pay records, this amount represents full settlement of possible relief and/or compensation inclusive

  of liquidated damages. Notwithstanding, the parties agree that there is a genuine dispute both as

  to whether or not Plaintiff worked the alleged number of hours worked on a weekly basis, and

  whether or not Plaintiff was in fact paid for all hours Plaintiff allegedly worked on a weekly basis.

         6.      The amount of this settlement to the Plaintiff is fair and reasonable given the fact

  that Plaintiff could be receiving full compensation inclusive of liquidated damages. Additionally,

  it is also reasonable given the likelihood of success on the merits of the claims and the costs of

  litigating this matter. This settlement was arrived at after considerable negotiation by the parties

  and the Defendants do not admit any liability in this action. Moreover, this settlement is fair and

  reasonable given the fact that Plaintiff could be barred from recovery should Plaintiff not be

  covered by the FLSA.

         7.      Separate and apart, Plaintiff’s counsel shall receive $5,500.00 in attorney’s fees and

  $500.00 in costs incurred to date in this action, including preparation and/or review of all

  settlement documents. Plaintiff’s counsel has expended over 19 hours on this matter to date.

  Additionally, Plaintiff’s counsel has incurred approximately $500.00 in costs. Plaintiff’s counsel,

  who has nearly 10 years of experience litigating employment related matters, charges an hourly

  rate of $350.00.      Notwithstanding, Plaintiff’s counsel’s attorney’s fees and costs were

  compromised and reduced in good faith in order to make settlement possible and Plaintiff’s

  recovery was not adversely affected by the amount of fees and costs paid to her attorney.




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          8.     As part of the settlement reached between the Parties, Plaintiff agrees to dismiss

  this action with prejudice upon approval by the Court of the attached Settlement, Release and Non-

  Disclosure Agreement, with the Court to retain jurisdiction to enforce the Parties’ obligations as

  required by the Settlement, Release and Non-Disclosure Agreement.

          9.     Plaintiff and Defendants stipulate that the settlement is a fair and reasonable

  settlement of the controversies involved in this case and comports with the policies underlying the

  FLSA.

          WHEREFORE, the Parties respectfully request that this Court enter an Order approving

  the attached Settlement, Release and Non-Disclosure Agreement and dismissing all claims made

  by Plaintiff against Defendants in this action with Prejudice, with the Court to retain jurisdiction

  to enforce the Parties’ obligations as required by the Settlement, Release, and Non-Disclosure

  Agreement.



                      Respectfully submitted on this 11th day of January, 2017,



    /s/ Zandro E. Palma                                     /s/ Jenna N. Kochen
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on January 11, 2017, I electronically filed the foregoing document
  with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served
  this day on all counsel of record identified on the Service List in the manner specified, either via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
  manner for those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.


                                                       /s/ Jenna N. Kochen
                                                       Attorney



                                           SERVICE LIST

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